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                   IN THE UNITED STATES DISTRICT COURT FOR
                           THE DISTRICT OF COLUMBIA

UNITED STATES                             }
                                          }
                                          }
      V.                                  }                22-CR-349
                                          }
                                          }
ISAIAH CHASE                              }
__________________________________________}



                                ENTRY OF APPEARANCE

       Please enter the appearance of Deidra McEachern and The McEachern Law Firm as

counsel of record for Defendant, Isaiah Chase, in the above captioned matter. Counsel

McEachern is a member in good standing of this bar and maintains offices at 6710 Oxon Hill

Road, Suit 210 in Oxon Hill MD.



                                                           Respectfully submitted,



                                                             /s/ Deidra L. McEachern
                                                           Deidra L. McEachern, Esq.
                                                           Bar Number-418572
                                                           Counsel for Isaiah Chase
                                                           6710 Oxon Hill Road
                                                           Suite 210
                                                           Oxon Hill, MD. 20745
                                                           (301) 925-4069
                                                           E-mail McEachernlaw@aol.com
